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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS

FRED J. DE LA COTERA, D.D.S.,                    )
individually and as the representative of a      )
class of similarly-situated persons,             )
                                                 )
                       Plaintiff,                )     Civil Action No. 1:20-cv-05036
               v.                                )
                                                 )
NOAH ASSOCIATES INCORPORATED,                    )
a Wisconsin corporation,                         )
                                                 )
                       Defendant.                )
                                                 )

                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(i), Plaintiff, FRED J. DE LA COTERA,

D.D.S., through his undersigned attorneys, hereby dismisses this action with prejudice, class

allegations without prejudice, each side to bear its own costs.

                                                     Respectfully submitted,

                                                     FRED J. DE LA COTERA, D.D.S.

                                                     By: s/ Ryan M. Kelly
                                                     Ryan M. Kelly
                                                     ANDERSON + WANCA
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 13, 2020, I electronically filed the foregoing Joint

Stipulation of Dismissal with the Clerk of the Court using the CM/ECF system which will send

notification of such filings to all counsel of record.



                                                         /s/Ryan M. Kelly




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